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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

: 22ma3043 (DLC)
IN RE: Acetaminophen - ASD-ADHD : 22mco3043 {DLC}
Products Liability Litigation :

ORDER
DENISE COTE, District Judge:

A December 7, 2022 Order: Notice of Special Master
Candidates gave all parties notice of the Court’s consideration
of Randi S. Ellis as a Special Master to manage the census of
cases in this multidistrict litigation (“Census Special Master”)
and ordered any objections to be filed by December 14, 2022.
Having received no objections, it is hereby

ORDERED that by December 20, 2022, the parties shall submit
a proposed order that appoints Randi S. Ellis as the Census

Special Master.

Dated: New York, New York
December 16, 2022

 

United Stdtes District Judge

 

 

 
